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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                         )
DAHUA TECHNOLOGY USA INC.,               )
                                         )
     Plaintiff,                          )
                                         )
            v.                           )        Case No. 18-cv-11147
                                         )
FENG ZHANG,                              )
                                         )
     Defendant.                          )
                                         )


                                  JUDGMENT


      In accordance with this Court’s January 9, 2020 Memorandum of Decision & Order and

the Order dated February 19, 2019, it is hereby ORDERED:

   1. On Count I of Plaintiff Dahua Technology USA Inc.’s (“Dahua”) Complaint dated

      May 31, 2018 (declaratory judgment of contract unenforceability), judgment shall

      enter for Dahua and against Defendant Feng Zhang (“Zhang”). Paragraph 1 of the

      August 28, 2017 Severance Agreement between Dahua and Zhang is unenforceable.

   2. On Count II of Dahua's Complaint (declaratory judgment of contract

      reformation), judgment shall enter for Dahua and against Zhang. Paragraph 1

      of the August 28, 2017 Severance Agreement between Dahua and Zhang is

      reformed as follows:

           1. Payments. In consideration for your execution, non-revocation and
              compliance with this Agreement, the Company agrees to pay you
              severance in the total amount of $680,000, paid in equal monthly
              installments of $42,500 over the sixteen (16) months following the offer
              termination Date (the "Severance Period"), payable subject to standard
              payroll deductions and withholdings on the Company's ordinary payroll


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               dates over the Severance Period, beginning no later than the Company's
               second payroll date that occurs after the Effective Date (as defined
               below), provided the Company received the executed Agreement from
               you by such date, with the remaining installments after that occurring on
               the Company's regularly scheduled payroll dates. Such payment can be
               accelerated upon your request, and you will be responsible for any tax
               associated with the payment, including any tax required under Section
               409A of the Internal Revenue Code, as amended, and the regulations
               and other guidance thereunder and any state law of similar effect.


    3. On Count III of Dahua’s Complaint (breach of the implied covenant of good faith

        and fair dealing), judgment shall enter for Dahua and against Zhang.

    4. On Count I of Zhang’s Amended Counterclaim dated September 12, 2018 (breach

        of contract), judgment shall enter for Dahua and against Zhang.

    5. Each party shall bear its own attorneys' fees and costs.




 IT IS SO ORDERED:


/s/ Rya W. Zobel
 Rya W. Zobel
 Senior United States District Judge


 DATE: February 19, 2020




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